                     Case: 24-50721 Document: 60 Page: 1 Date Filed: 02/24/2025
                  NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)
Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing
a party must complete a separate form. (COMPLETE ENTIRE FORM unless otherwise noted).
                              Fifth Cir. Case NO. 25-50096

Students Engaged in Advancing Texas                                         vs. Paxton
(Short Title)
The Clerk will enter my appearance as Counsel for Students Engaged in Advancing Texas; M.F., by and

 through next friend, Vanessa Fernandez; Ampersand Group, L.L.C.; Brandon Closson

______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                         Appellant(s)                  Appellee(s)                              Intervenor

       I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Adam S. Sieff                                                               adamsieff@dwt.com
(Signature)                                                                      (e-mail address)

 Adam S. Sieff                                                                    CA/302030
(Type or print name)                                                             (State/Bar No.)


(Title, if any)

 Davis Wright Tremaine LLP
 __________________________________________________________________________________________
(Firm or Organization)
Address                  350 South Grand Avenue, 27th Floor

City & State Los Angeles, CA                                                                           Zip 90071

Primary Tel._ 213-633-8618                     Cell Phone:                                       (Optional)
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: Bob     Corn-Revere
                          ________________________________________________________________________________
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.


B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No

           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No

           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes                          No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:
   No. 24-50721 -- cases are consolidated appeals by AG Paxton of two preliminary injunctions
  against the same law
Name of Court or Agency
                        U.S. Court of Appeals for the Fifth Circuit

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                         DKT-5A REVISED June 2023
